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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

 FOREST LABORATORIES, LLC, FOREST                   )
 LABORATORIES HOLDINGS, LTD., MERCK                 )
 KGaA and MERCK PATENT GESELLSCHAFT                 )
 MIT BESCHRANKTER HAFTUNG,                         )
                                                   )
                      Plaintiffs,                  )
                                                   )
                      v.                           )    C.A. No. 15-272 (GMS)
                                                   )    CONSOLIDATED
 ACCORD HEALTHCARE INC.,                           )
                                                   )
                      Defendant.                   )

 FORE.ST LABORATORIES, LLC, FOREST                 )
 LABORATORIES HOLDINGS, LTD., MERCK                )
 KGaA and MERCK PATENT GESELLSCHAFT                )
 MIT BESCHRANKTER HAFTUNG,                         )
                                                   )
                      Plaintiffs,                  )
                                                   )
                      v.                           )    C.A. No. 15-277 (GMS)
                                                   )
 INV AGEN PHARMACEUTICALS INC.,                    )
                                                   )
                      Defendant.                   )

 FOREST LABORATORIES, LLC, FOREST                  )
 LABORATORIES HOLDINGS, LTD., MERCK                )
 KGaA and MERCK PATENT GESELLSCHAFT                )
 MIT BESCHRANKTER HAFTUNG,                         )
                                                   )
                     Plaintiffs,                   )
                                                   )
                     v.                            )    C.A. No. 15-1078 (GMS)
                                                   )
 INV AGEN PHARMACEUTICALS INC.,                    )
                                                   )
                     Defendant.                    )

                       STIPULATION AND [PROPOSED] ORDER

       The Court, upon the consent and request of Plaintiffs Forest Laboratories, LLC, Forest

 Laboratories Holdings, Ltd., Merck KGaA and Merck Patent Gesellschaft Mit Beschrankter
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 Haftung (collectively, "Plaintiffs"), and Defendant InvaGen Pharmaceuticals Inc. ("InvaGen"),

 hereby acknowledges the following Stipulation and issues the following Order.

                                          STIPULATION

                   1.   This Court has subject matter jurisdiction over the above-captioned patent

 infringement actions (the "Actions") and personal jurisdiction over Plaintiffs and InvaGen for

 purposes of the Actions. Venue is proper in this Court as to Plaintiffs and InvaGen for purposes

 of the Actions.

                   2.   In the Actions, Plaintiffs have asserted claims against InvaGen for

 infringement of U.S. Patent Nos. 7,834,020 ("the '020 Patent"), 8, 193, 195 ("the '195 Patent"),

 8,236,804 ("the '804 Patent"), and 8,673,921 ("the '921 Patent") (collectively the "Patents in

 Suit") in connection with InvaGen's submission of Abbreviated New Drug Application

 ("ANDA") 208200 directed to generic vilazodone hydrochloride 10, 20 and 40 milligram tablet

 products to the U.S. Food and Drug Administration ("FDA").

                   3.   In response to Plaintiffs' claims of patent infringement, InvaGen has

 alleged certain defenses and counterclaims, including that the Patents in Suit are not infringed

 and/or are invalid. To date, no final judgment has been entered by this Court regarding

 Plaintiffs' claims or InvaGen's defenses or counterclaims.

                   4.   For purposes of the Action, InvaGen admits that submission of ANDA

 208200 to the FDA for the purpose of obtaining regulatory approval to engage in the commercial

 manufacture, use, and/or sale of the generic vilazodone hydrochloride 10, 20 and 40 milligram

 tablet products within the United States before the expiration of the Patents in Suit was a

 technical act of infringement of the Patents in Suit under 35 U.S.C. § 271(e)(2)(A).




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                  5.      By this Stipulation and Order, the Parties agree that all other claims,

 defenses, counterclaims set forth in the pleadings in the Action, including allegations and

 averments contained therein, should be dismissed, without prejudice.

                                                   ORDER

                  Accordingly, pursuant to the above Stipulation, and upon the consent and request

 of Plaintiffs and InvaGen, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

 THAT:

                  1.      The filing of ANDA No. 208200 was a technical act of infringement of the

 Patents in Suit under 35 U.S.C. § 27l(e)(2)(A). No decision in the Action has been obtained by

 either party regarding the validity of the Patents in Suit and/or whether any commercial making,

 using, selling, or offering to sell within the United States, or importing into the United States, of

 the generic products described by ANDA No. 208200 would infringe those patents.

                  2.      All other claims, defenses, and counterclaims set forth in Plaintiffs' and

 InvaGen's pleadings against each other in the Action, including the allegations and averments

 contained therein, are hereby dismissed, without prejudice.

                  3.      Absent a license or other authorization by Plaintiffs or as otherwise

 permitted under 35 U.S.C. § 271(e)(l), InvaGen, its officers, agents, servants, employees, and

 attorneys, and all other persons in active concert or participation with any of them who receive

 actual notice of this Order by personal service or otherwise, are hereby enjoined from

 manufacturing, using, offering to sell, or selling within the United States, or importing into the

 United States, the generic vilazodone hydrochloride 10, 20 and 40 milligram tablet products that

 are the subject of ANDA 208200 during the life of the Patents in Suit, including any extensions

 and pediatric   exclus~vities   unless and until all of the claims of the Patents in Suit are found




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 invalid or unenforceable by a court decision from which no appeal has been or can be taken

 excluding any petition for a writ of certiorari or other proceedings before the United States

 Supreme Court.

                 4.      Plaintiffs and InvaGen each expressly waive any right to appeal or

 otherwise move for relief from this Stipulation And Order.

                 5.      This Court retains jurisdiction over Plaintiffs and InvaGen for purposes of

 enforcing this Stipulation And Order.

                 6.      This Stipulation And Order shall finally resolve the Action between

 Plaintiffs and InvaGen.

                 7.      Nothing herein prohibits or is intended to prohibit InvaGen from

 maintaining a "Paragraph IV Certification" pursuant to 21 U.S.C. § 355G)(2)(A)(vii)(IV) or

 pursuant to 21 C.F.R. § 314.94(a)(12) with respect to any of the Patents in Suit.

                 8.      The Clerk of the Court is directed to enter this Stipulation And Order in

 the above-captioned Action forthwith.

 MORRIS, NICHOLS, ARSHT & TUNNELL LLP                  CAESAR RIVISE, PC

 /s/ :M.aryef{en 'Noreikg,                             /s/ ~ <louhey :M.yer

 Jack B. Blumenfeld (#1014)                            R. Touhey Myer (#5939)
 Maryellen Noreika (#3208)                             800 N. King Street
 1201 North Market Street                              Suite 304
 P.O. Box 1347                                         Wilmington, DE 19801
 Wilmington, DE 19899                                  (302) 544-9100
 (302) 658-9200                                        tmyer@crbcp.com
 jblumenfeld@mnat.com
 mnoreika@mnat.com                                     Attorneys for Defendant InvaGen
                                                       Pharmaceuticals Inc.
 Attorneys for Plaintiffs Forest Laboratories,
 LLC, Forest Laboratories Holdings, Ltd.,
 Merck KGaA, and Merck Patent GmbH




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 SO ORDERED this   J.....,.    day of October 2017




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